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                                                                   APPEAL,CLOSED,TYPE−E
                               U.S. District Court
                    District of Columbia (Washington, DC)
               CIVIL DOCKET FOR CASE #: 1:21−cv−02406−TJK

 NATIONAL ASSOCIATION OF REALTORS v. UNITED            Date Filed: 09/13/2021
 STATES OF AMERICA et al                               Date Terminated: 01/25/2023
 Assigned to: Judge Timothy J. Kelly                   Jury Demand: None
  Case: 1:20−cv−03356−TJK                              Nature of Suit: 890 Other Statutory
 Cause: 15:1314 Antitrust−−Petition for enforcement    Actions
                                                       Jurisdiction: U.S. Government Defendant
 Plaintiff
 NATIONAL ASSOCIATION OF                  represented by Michael Domenic Bonanno
 REALTORS                                                QUINN EMANUEL URQUHART &
                                                         SULLIVAN, LLP
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                                                         Fax: 202−538−8100
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                                                         ATTORNEY TO BE NOTICED

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 V.
 Defendant
 UNITED STATES OF AMERICA                       represented by James C. Luh
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 Defendant
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                                                               LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Daniel S. Guarnera
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED

 Defendant
 RICHARD A. POWERS                              represented by James C. Luh
 in his official capacity as Acting Assistant                  (See above for address)
 Attorney General, Antitrust Division                          LEAD ATTORNEY
                                                               ATTORNEY TO BE NOTICED

                                                               Daniel S. Guarnera
                                                               (See above for address)
                                                               ATTORNEY TO BE NOTICED


  Date Filed      #    Docket Text


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  09/13/2021    1   COMPLAINT Petition to Set Aside, or in the Alternative Modify, Civil Investigative
                    Demand No. 30729 against Richard A. Powers, U.S. DEPARTMENT OF JUSTICE,
                    ANTITRUST DIVISION, UNITED STATES OF AMERICA ( Filing fee $ 402 receipt
                    number ADCDC−8727324) filed by NATIONAL ASSOCIATION OF REALTORS.
                    (Attachments: # 1 Declaration of Ethan Glass, # 2 Exhibit 1, # 3 Exhibit 2, # 4 Exhibit
                    3, # 5 Exhibit 4, # 6 Exhibit 5, # 7 Exhibit 6, # 8 Exhibit 7, # 9 Exhibit 8, # 10 Exhibit
                    9, # 11 Exhibit 10, # 12 Exhibit 11, # 13 Exhibit 12, # 14 Exhibit 13, # 15 Exhibit 14, #
                    16 Exhibit 15, # 17 Exhibit 16, # 18 Exhibit 17, # 19 Exhibit 18, # 20 Exhibit 19, # 21
                    Exhibit 20, # 22 Exhibit 21, # 23 Exhibit 22, # 24 Exhibit 23, # 25 Exhibit 24, # 26
                    Exhibit 25, # 27 Exhibit 26, # 28 Civil Cover Sheet, # 29 Related Case Form, # 30
                    Certificate of Service, # 31 Summons (Attorney General), # 32 Summons (United
                    States), # 33 Summons (Antitrust Division), # 34 Summons (AAG Powers), # 35
                    Summons (United States Attorney))(Glass, Ethan) (Entered: 09/13/2021)
  09/13/2021    2   LCvR 26.1 CERTIFICATE OF DISCLOSURE of Corporate Affiliations and Financial
                    Interests by NATIONAL ASSOCIATION OF REALTORS (Glass, Ethan) (Entered:
                    09/13/2021)
  09/13/2021    3   NOTICE of Appearance by Ethan Charles Glass on behalf of NATIONAL
                    ASSOCIATION OF REALTORS (Glass, Ethan) (Entered: 09/13/2021)
  09/13/2021    4   NOTICE of Appearance by William A. Burck on behalf of NATIONAL
                    ASSOCIATION OF REALTORS (Burck, William) (Entered: 09/13/2021)
  09/13/2021    5   NOTICE of Appearance by Michael D. Bonanno on behalf of NATIONAL
                    ASSOCIATION OF REALTORS (Bonanno, Michael) (Entered: 09/13/2021)
  09/13/2021    6   NOTICE of Appearance by Peter Joseph Benson on behalf of NATIONAL
                    ASSOCIATION OF REALTORS (Benson, Peter) (Entered: 09/13/2021)
  09/13/2021    7   NOTICE OF RELATED CASE by NATIONAL ASSOCIATION OF REALTORS.
                    Case related to Case No. 20−cv−3356. (zsb) (Entered: 09/15/2021)
  09/15/2021        Case Assigned to Judge Timothy J. Kelly. (zsb) (Entered: 09/15/2021)
  09/15/2021    8   SUMMONS (5) Issued Electronically as to RICHARD A. POWERS, U.S.
                    DEPARTMENT OF JUSTICE, ANTITRUST DIVISION, UNITED STATES OF
                    AMERICA, U.S. Attorney and U.S. Attorney General (Attachments: # 1 Notice and
                    Consent)(adh, ) (Entered: 09/15/2021)
  09/16/2021    9   REQUEST FOR SUMMONS TO ISSUE (corrected copies for the United States and
                    the Attorney General of the United States) filed by NATIONAL ASSOCIATION OF
                    REALTORS. (Attachments: # 1 Summons)(Glass, Ethan) (Entered: 09/16/2021)
  09/18/2021   10   SUMMONS (2) Re−Issued Electronically as to, U.S. Attorney and U.S. Attorney
                    General (zjf) (Entered: 09/18/2021)
  09/24/2021   11   Unopposed MOTION for Extension of Time to File Response/Reply (Respondents'
                    Unopposed Motion for Extension of Time) by RICHARD A. POWERS, U.S.
                    DEPARTMENT OF JUSTICE, ANTITRUST DIVISION, UNITED STATES OF
                    AMERICA. (Attachments: # 1 Text of Proposed Order)(Luh, James) (Entered:
                    09/24/2021)
  09/27/2021        MINUTE ORDER granting Respondents' 11 Unopposed Motion for Extension of
                    Time. It is hereby ORDERED, for good cause shown, that Respondents' unopposed
                    motion for an extension of time to respond to the Petition to Set Aside, or in the


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                    Alternative Modify, Civil Investigative Demand No. 30729 is GRANTED. It is further
                    ORDERED that Respondents' shall file their response by October 13, 2021. Signed by
                    Judge Timothy J. Kelly on 9/27/2021. (lctjk1) (Entered: 09/27/2021)
  09/27/2021   12   STANDING ORDER. See Order for details. Signed by Judge Timothy J. Kelly on
                    9/27/2021. (lctjk1) (Entered: 09/27/2021)
  10/07/2021   13   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed on
                    United States Attorney General. Date of Service Upon United States Attorney General
                    9/23/2021. (Benson, Peter) (Entered: 10/07/2021)
  10/07/2021   14   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed. U.S.
                    DEPARTMENT OF JUSTICE, ANTITRUST DIVISION served on 9/20/2021
                    (Benson, Peter) (Entered: 10/07/2021)
  10/07/2021   15   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    RICHARD A. POWERS served on 9/20/2021 (Benson, Peter) (Entered: 10/07/2021)
  10/07/2021   16   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed as to the
                    United States Attorney. Date of Service Upon United States Attorney on 9/20/2021.
                    Answer due for ALL FEDERAL DEFENDANTS by 11/19/2021. (Benson, Peter)
                    (Entered: 10/07/2021)
  10/07/2021   17   RETURN OF SERVICE/AFFIDAVIT of Summons and Complaint Executed.
                    UNITED STATES OF AMERICA served on 9/28/2021 (Benson, Peter) (Entered:
                    10/07/2021)
  10/12/2021   18   Unopposed MOTION to Set Deadline by NATIONAL ASSOCIATION OF
                    REALTORS. (Attachments: # 1 Text of Proposed Order)(Glass, Ethan) (Entered:
                    10/12/2021)
  10/13/2021   19   RESPONSE re 18 Unopposed MOTION to Set Deadline (Respondents' Response to
                    the National Association of Realtors' Unopposed Motion to Set Deadline) filed by
                    RICHARD A. POWERS, U.S. DEPARTMENT OF JUSTICE, ANTITRUST
                    DIVISION, UNITED STATES OF AMERICA. (Luh, James) (Entered: 10/13/2021)
  10/13/2021   20   RESPONSE re 1 Complaint,,,, (Respondents' Memorandum in Opposition to Petition
                    to Set Aside, or in the Alternative Modify, Civil Investigative Demand No. 30729) filed
                    by RICHARD A. POWERS, U.S. DEPARTMENT OF JUSTICE, ANTITRUST
                    DIVISION, UNITED STATES OF AMERICA. (Attachments: # 1 Exhibit 1, # 2
                    Exhibit 2, # 3 Exhibit 3, # 4 Exhibit 4, # 5 Exhibit 5, # 6 Exhibit 6, # 7 Exhibit 7, # 8
                    Text of Proposed Order)(Luh, James) (Entered: 10/13/2021)
  10/13/2021        MINUTE ORDER granting Petitioner's 18 Unopposed Motion to Set Deadline. It is
                    hereby ORDERED, for good cause shown, that Petitioner's next filing shall be due by
                    November 12, 2021. Signed by Judge Timothy J. Kelly on 10/13/2021. (lctjk1)
                    (Entered: 10/13/2021)
  11/12/2021   21   REPLY re 20 Response to Document, Response to the Government's Opposition to
                    NAR's Petition filed by NATIONAL ASSOCIATION OF REALTORS. (Attachments:
                    # 1 Declaration of Ethan Glass, # 2 Exhibit A, # 3 Exhibit B, # 4 Exhibit C, # 5 Exhibit
                    D, # 6 Exhibit E, # 7 Exhibit F, # 8 Exhibit G, # 9 Exhibit H, # 10 Exhibit I, # 11
                    Exhibit J, # 12 Exhibit K, # 13 Exhibit L, # 14 Exhibit M)(Glass, Ethan); Modified
                    docketing event and text on 11/17/2021 (ztth). (Entered: 11/12/2021)
  01/07/2022   22


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                    STATUS REPORT (Respondents' Status Report) by RICHARD A. POWERS, U.S.
                    DEPARTMENT OF JUSTICE, ANTITRUST DIVISION, UNITED STATES OF
                    AMERICA. (Luh, James) (Entered: 01/07/2022)
  04/25/2022   23   NOTICE of Change of Address by Ethan Charles Glass (Glass, Ethan) (Entered:
                    04/25/2022)
  01/25/2023   24   ORDER granting Petitioner's 1 Petition to Set Aside Civil Investigative Demand No.
                    30729. See Order for details. Signed by Judge Timothy J. Kelly on 1/25/2023. (lctjk1)
                    (Entered: 01/25/2023)
  01/25/2023   25   MEMORANDUM OPINION in support of 24 Order granting Petitioner's 1 Petition to
                    Set Aside Civil Investigative Demand No. 30729. Signed by Judge Timothy J. Kelly on
                    1/25/2023. (lctjk1) (Entered: 01/25/2023)
  03/24/2023   26   NOTICE of Appearance by Daniel S. Guarnera on behalf of All Defendants (Guarnera,
                    Daniel) (Entered: 03/24/2023)
  03/24/2023   27   NOTICE OF APPEAL TO DC CIRCUIT COURT as to 25 Memorandum & Opinion,
                    24 Order by RICHARD A. POWERS, U.S. DEPARTMENT OF JUSTICE,
                    ANTITRUST DIVISION, UNITED STATES OF AMERICA. Fee Status: No Fee
                    Paid. Parties have been notified. (Guarnera, Daniel) (Entered: 03/24/2023)




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                              UNITED STATES DISTRICT COURT
                              FOR THE DISTRICT OF COLUMBIA



 NATIONAL ASSOCIATION OF
 REALTORS,

                        Petitioner,
                                                      Civil Action No. 1:21-cv-02406-TJK
 v.

 UNITED STATES OF AMERICA, et al.,

                         Respondents.



                                      NOTICE OF APPEAL

       Notice is hereby given that all Respondents in the above-named case hereby appeal to the

United States Court of Appeals for the District of Columbia Circuit from the order and judgment

entered in this action on January 25, 2023, Order, ECF No. 24; Mem. Op., ECF No. 25.


      March 24, 2023                              Respectfully submitted,

                                                  /s/ DANIEL S. GUARNERA
                                                  DANIEL S. GUARNERA (D.C. Bar No.
                                                      1034844)
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                                                  Attorneys for Respondents
                                                                                                  6
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                            UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


NATIONAL ASSOCIATION OF REALTORS,

              Petitioner,

       v.                                                 Civil Action No. 21-2406 (TJK)

UNITED STATES OF AMERICA, et al.,

              Respondents.


                                             ORDER

       For the reasons set forth in the Court’s accompanying Memorandum Opinion, it is hereby

ORDERED that Petitioner’s Petition to Set Aside Civil Investigative Demand No. 30729, ECF

No. 1, is GRANTED. Civil Investigative Demand No. 30729 is hereby SET ASIDE.

       This is a final appealable Order. The Clerk of the Court is directed to close the case.


       SO ORDERED.

                                                             /s/ Timothy J. Kelly
                                                             TIMOTHY J. KELLY
                                                             United States District Judge

Date: January 25, 2023




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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA



NATIONAL ASSOCIATION OF REALTORS,

               Petitioner,

       v.                                                 Civil Action No. 21-2406 (TJK)

UNITED STATES OF AMERICA, et al.,

               Respondents.



                                 MEMORANDUM OPINION

       Before the Court is the National Association of Realtors’ Petition to Set Aside, or in the

Alternative Modify, Civil Investigative Demand No. 30729, which was issued by the Department

of Justice’s Antitrust Division. Because the civil investigative demand, or CID, violates a settle-

ment agreement executed by the parties, the Court will set it aside.

I.     Background

       A.      The Department of Justice Opens an Investigation into the National Associa-
               tion of Realtors

       In 2019, the Department of Justice’s Antitrust Division opened an investigation into certain

practices and policies of the National Association of Realtors (“NAR”). See ECF No. 1-21 at 2.

Among the NAR policies under review were its “Participation Rule” and its “Clear Cooperation

Policy.” See ECF No. 1-7 at 2. As part of its investigation into potentially anticompetitive behav-

ior, the Antitrust Division issued two CIDs seeking certain information from NAR. See ECF No.

1-21; ECF No. 1-22. Settlement talks ensued.




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       B.        The Parties Settle and the Department of Justice Closes its Investigation

       In 2020, NAR and the Antitrust Division began negotiating a potential settlement. See

ECF No. 1-5. At first, the Antitrust Division would not agree that any of NAR’s policies, current

or otherwise, would be free from further investigation for a decade. See ECF No. 20-1 at 6; ECF

No. 20-2 at 2. NAR pushed back, seeking reprieve from investigation. See ECF No. 1-6 at 2.

After exchanging several rounds of emails negotiating settlement terms, the Antitrust Division sent

a draft consent judgment including a proposed reservation-of-rights clause, which in sum declared

that nothing in the judgment would limit the government’s ability to investigate NAR’s policies in

the future. ECF No. 1-5 at 18.

       NAR responded by striking that clause. ECF No. 1-5 at 18. NAR later explained that it

would not agree to a consent decree without written assurances—specifically, a letter—confirming

that the Antitrust Division had “closed its investigation” into the Participation Rule and Clear Co-

operation Policy and providing that NAR “had no obligation” to respond to the still-pending CIDs.

ECF No. 1-7 at 2, 19. After a call about the letter that would “give[] [NAR] relief from the inves-

tigations,” the Antitrust Division conceded, agreeing to confirm in writing that it would close its

investigation into those policies. ECF No. 1-8 at 2, 4; see also ECF No. 20-6 at 3 (“[W]e will

close our investigation into NAR’s Participation Rule as a part of this settlement.”). But the An-

titrust Division would not confirm that certain changes to the policies satisfied its concerns or that

it would refrain from challenging any future versions of the rules. See ECF No. 20-3 at 2–3; ECF

No. 20-2 at 2.

       In November 2020, the Antitrust Division filed a Complaint, Stipulation and Order, and

Proposed Final Judgment with the Court. ECF Nos. 1-9–1-12. Neither the Complaint nor the

Proposed Final Judgment addressed the Participation Rule or Clear Cooperation Policy. See ECF




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No. 1-10; ECF No. 1-12. The Proposed Final Judgment included a reservation of rights provision

that read, “Nothing in this Final Judgment shall limit the right of the United States to investigate

and bring actions to prevent or restrain violations of the antitrust laws concerning any Rule or

practice adopted or enforced by NAR or any of its Member Boards.” ECF No. 1-12 at 16. But

neither the stipulation nor the consent judgment featured a merger or integration clause preventing

other agreements from restraining the government along these lines. See ECF No. 1-11; ECF No.

1-12.

        The same day the Antitrust Division filed those papers, it sent a “closing letter” to NAR as

agreed. See ECF No. 1-13. The letter confirmed “that the Antitrust Division ha[d] closed its

investigation into [NAR’s] Clear Cooperation Policy and Participation Rule” and that NAR

“[a]ccordingly” had “no obligation to respond to” the corresponding CIDs. Id. The letter con-

tained a “no inferences” provision, which read, “No inference should be drawn, . . . from the Di-

vision’s decision to close its investigation into these rules, policies or practices not addressed by

the consent decree.” Id.

        C.     The Department of Justice Reopens its Investigation and Reissues its CIDs

        After the parties reached their settlement, NAR began changing its policies to comply with

the terms in the Stipulation and Proposed Final Judgment. ECF No. 1-1 at 3–4. The Participation

Rule and Clear Cooperation Policy were not a part of the Stipulation and Proposed Final Judgment,

though. Thus, those rules “have not been changed, modified, or amended since the Antitrust Di-

vision closed its investigation in 2020.” ECF No. 21-1 at ¶ 15.

        In January 2021, as the consent judgment required, NAR contacted the Antitrust Division

to approve its policy changes. ECF No. 1-1 at ¶ 15. After the change in presidential administra-

tions, the government did not respond to NAR until April. See id. at ¶ 18. When it did respond,




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rather than approving or rejecting the rule changes, the Antitrust Division tried to renegotiate the

reservation-of-rights clause in the consent agreement. Id. NAR was skeptical. And during later

discussions, the Antitrust Division refused to clarify whether the change was intended to modify

any aspect of the settlement or its agreement to close its investigation and withdraw the CIDs. See

id. at ¶ 19.

        NAR would not agree to any changes without clarification of their impact on the settlement

agreement, creating an impasse. See ECF No. 1-1 at 6. In July 2021, the Antitrust Division reo-

pened the investigations it had previously agreed to close and issued a CID against NAR that is

similar to the two CIDs addressed in the prior settlement. See ECF No. 1-3; ECF No. 1-23. The

agency also withdrew its consent to the Proposed Final Judgment and voluntarily withdrew its

complaint. ECF No. 1-17; ECF No. 1-18. The Antitrust Division describes these actions as a

“resum[ption of] its investigative efforts.” ECF No. 20 at 14.

        In response, NAR filed the instant petition under 15 U.S.C. § 1314(b)(1)(A) to set aside

the new CID as a breach of the 2020 settlement agreement. In the alternative, NAR requests that

the Court modify the CID, alleging excessive breadth and burdensomeness.

II.     Legal Standards

        Under the Antitrust Civil Process Act, the Antitrust Division may request, through a CID,

the production of documentary material, answers to interrogatories, or the proffer of oral testimony

relevant to a civil antitrust investigation. 15 U.S.C. § 1312(a). Any person served with a CID may

petition for an order to modify its terms or to have it set aside “based on any failure of [the CID]

demand to comply with the provisions of [the Antitrust Civil Process Act], or upon any constitu-

tional or other legal right or privilege of such person.” 15 U.S.C. § 1314(b)(2). The petitioner

bears the burden of convincing the court that a CID should be set aside. See United States v. Time




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Warner, Inc., 94-cv-338 (HHG), 1997 WL 118413, at *6 (D.D.C. Jan. 22, 1997); see also United

States v. R. Enters., Inc., 498 U.S. 292, 301 (1991).

       CIDs must comply with the standards applicable to grand jury subpoenas and civil discov-

ery. 15 U.S.C. § 1312(c)(1); see also Time Warner, 1997 WL 118413, at *3 (“[T]he standard for

enforcement of regulatory subpoenas is the same as that applied to grand jury investigations.”

(citing Okla. Press Pub. Co. v. Walling, 327 U.S. 186, 216 (1946)). To that end, CIDs—like grand

jury subpoenas and civil discovery—may be subject to restrictions under a settlement agreement.

       Courts generally preclude civil discovery barred by a validly executed settlement. See,

e.g., Blake v. Architect of the Capitol, No. 19-cv-3409 (TSC-RMM), 2021 WL 5990949, at *3

(D.D.C. Sep. 22, 2021) (considering whether prior settlement agreement barred certain discovery

requests). Courts also preclude the government from compelling testimony via grand jury sub-

poena when doing so conflicts with a plea or settlement agreement. See United States v. Singleton,

47 F.3d 1177, at *4 (9th Cir. 1995) (Table); In re Grand Jury Proc., 819 F.2d 984, 987 (11th Cir.

1987); see also In re U.S. Senate Permanent Subcomm. on Investigations, 655 F.2d 1232, 1239

(D.C. Cir. 1981) (holding that the government could enforce a legislative subpoena through civil

contempt because “[t]he terms of the [witness’s] plea bargain agreement plainly [did] not preclude

[Congress] from seeking to secure the testimony of [the witness]”).

       These rules track the general principle that the government must be held to the terms of its

contracts. Regardless of the identity of the official that signs a contract, “a settlement contract

may not be unilaterally rescinded,” and government agencies that enter into settlement agreements

are bound by their terms. Burton v. Adm’r, Gen. Servs. Admin., No. 89-cv-2338 (NHJ), 1992 WL

300970, at *3, *6 (D.D.C. July 10, 1992); see also Village of Kaktovik v. Watt, 689 F.2d 222, 234

(D.C. Cir. 1982) (Greene, J., concurring in part and dissenting in part) (“There is no question that




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a settlement agreement is a contract which, like any other contract, may not be unilaterally re-

scinded. That principle applies to the government as to any other party, and it applies irrespective

of whether or not the agreement has yet been approved by the court.” (cleaned up)). Thus, a CID

barred by the terms of a settlement agreement is invalid.

       Additionally, even if validly issued, CIDs may be neither “unduly burdensome [n]or un-

reasonably broad.” Time Warner, Inc., 1997 WL 118413, at *6 (cleaned up).1

III.   Analysis

       Because NAR has shown that a validly executed settlement agreement bars the CID at

issue, it must be set aside under 15 U.S.C. § 1314(b)(2).

       To start, the parties dispute the terms of their settlement agreement. Thus, before the Court

can enforce that agreement, it must first determine its terms. This task is essentially one of contract

interpretation. As the D.C. Circuit has explained, “An agreement to settle a legal dispute is a

contract. Each party agrees to extinguish those legal rights it [had] sought to enforce through

litigation in exchange for those rights secured by the contract.” Watt, 689 F.2d at 230.

       The Court must first identify the terms of the parties’ agreement. If the parties “executed

a completely integrated written agreement, it supersedes all other understandings and agreements

with respect to the subject matter of the agreement between the parties, whether consistent or in-

consistent.” Ryan v. BuckleySandler, LLP, 69 F. Supp. 3d 140, 145 (D.D.C. 2014) (cleaned up).

Put another way, when an agreement is completely integrated, that document alone controls. See



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  The Court acknowledges that the parties disagree as to whether this is a “summary proceeding”
and, in turn, over what standards apply. See ECF No. 20 at 6 n.1; ECF No. 21 at 8–13. In the
Court’s view, this dispute is beside the point. While NAR argues that the Antitrust Division over-
states its burden to show the CID should be set aside, the government never disputes that the CID
would be invalid if precluded by a settlement agreement. Instead, it argues that it made no such
commitment “that would preclude the Division from investigating NAR’s potentially anticompet-
itive practices or issuing new CIDs in connection with any such investigation.” ECF No. 20 at 16.


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id. On the other hand, when parties execute a “partially integrated agreement, where the writing

represents the agreement of the parties [only] with respect to the matters stated therein, . . . a court

may consider extrinsic terms that are consistent with the partially integrated agreement.” Id. (ci-

tations omitted). To determine whether an agreement is completely integrated, a court “must ex-

amine [the parties’] intent by looking to the written contract, the conduct and language of the

parties and the surrounding circumstances.” U.S. ex rel. D.L.I. Inc. v. Allegheny Jefferson Mill-

work, LLD, 540 F. Supp. 2d 165, 172 (D.D.C. 2008) (cleaned up). “In particular, the presence of

an integration clause weighs heavily in favor of a complete integration.” Id. at 173.

       Here, the settlement agreement encompasses several written and oral commitments made

by both sides in exchange for consideration. In other words, it is not a fully integrated written

agreement—and neither party contends otherwise. To begin, the Stipulation and Proposed Final

Judgment filed with the Court did not include a merger or integration clause. And while that alone

may not be enough to prove partial integration, the parties’ discussions before and after that filing

make clear that their agreement extended beyond those documents. Indeed, the terms of the Stip-

ulation and Proposed Final Judgment alone did not induce an agreement.

       As recounted earlier, NAR refused to agree to the consent decree without written assur-

ances that the Antitrust Division would send a letter confirming it “closed its investigation[s]” into

the Participation Rule and Clear Cooperation Policy and that NAR “had no obligation” to respond

to the still-pending CIDs. ECF No. 1-7 at 2, 19. Only when the agency yielded to those demands

did the parties settle their dispute. See id. The parties’ communications illustrate that the Stipula-

tion and Proposed Final Judgment were not the only ways their agreement was memorialized. The

Antitrust Division’s commitment to close its investigations into the Participation Rule and Clear

Cooperation Policy and effectively rescind the CIDs—and to confirm those actions in writing—




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was essential to the parties’ reaching a settlement and is consistent with the partially integrated

written agreement. So those commitments must be considered part of the overall agreement. In

fact, the Antitrust Division’s own communications show that the government itself understood the

broader settlement to require closure of the investigation. See, e.g., ECF No. 20-6 at 3 (“[W]e will

close our investigation into NAR’s Participation Rule as a part of this settlement.”).

       With that common-sense interpretation of the parties’ settlement in hand, it is not hard to

conclude that the new CID violates the agreement. Because the agreement included the Antitrust

Division’s commitment to close its investigation into NAR’s current Participation Rule and Clear

Cooperation Policy, the government breached the agreement by reopening the investigation into

those same rules and serving the new CID. The word “close” means “to bring to an end.” Close,

Merriam-Webster Dictionary, https://www.merriam-webster.com/dictionary/close.            The word

“open” means “to begin a course or activity.”             Open, Merriam-Webster’s Dictionary,

https://www.merriam-webster.com/dictionary/open. Opening an investigation is the opposite of

closing one. So by reopening the same investigation it had agreed to close, the Antitrust Division

breached the settlement agreement.2 From there, it follows that the agreement bars enforcement

of the new CID, issued to advance the same. See 15 U.S.C. § 1312(c).

       The government’s arguments otherwise do not sway the Court. The government begins by

disputing the reach of its agreement to close its investigation. See ECF No. 20 at 16–17. The




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  Resisting this outcome, the Antitrust Division at times characterizes its present investigation as
a “new investigation.” See ECF No. 20 at 14, 16. But as the Court sees it, the investigation is not
“new,” but a reopening—or “resumption”—of the investigation the agency had agreed to close.
The Participation Rule and Clear Cooperation Policy have not “been changed, modified, or
amended since the Antitrust Division closed its investigation in 2020.” ECF No. 21-1 at ¶ 15.
Furthermore, the newly issued CID is similar to the CIDs issued previously—the same CIDs to
which the agency agreed NAR need not respond. ECF No. 1-23. Indeed, the agency itself has
described its actions as “resum[ing] its investigative efforts.” ECF No. 20 at 14.


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government is correct that NAR asked for, and it agreed to provide, a letter confirming closure of

its investigation. See ECF No. 1-8 at 2. But that does not mean, as the government suggests, that

the agreement contemplated only a letter worth nothing but the paper on which it was written.

NAR explicitly negotiated for a letter “giv[ing it] relief from the investigations.” ECF No. 1-8 at

4. The letter would hardly provide such “relief” if the Antitrust Division was free to reopen the

investigations into both the Participation Rule and Clear Cooperation Policy and reissue substan-

tially similar CIDs right after closing the same. In response, the government emphasizes that it

refused to stipulate that either rule would not be subject to another investigation in the next decade,

and it declined to give them its seal of approval. See ECF No. 20 at 17. But these arguments

change nothing about the agreement the government eventually struck, which required it to close

its investigations into those policies. The agency’s reservations, in context, are best understood as

relating to any future versions of the policies in question.

       Nor can the “no inferences” provision in the closing letter bear the weight the government

assigns it. As noted above, that statement reads: “No inference should be drawn, from the Divi-

sion’s decision to close its investigation into these rules, policies or practices [that are] not ad-

dressed by the consent decree.” ECF No. 1-13. The Antitrust Division suggests that this sentence

reinforces its view that the closing letter did not preclude any future investigation—even one into

the same, unchanged Participation Rule and Clear Cooperation Policy. See ECF No. 20 at 17. Not

so.

       Nothing about the “no inferences” clause changes the Court’s view of the parties’ bottom-

line agreement. The Antitrust Division might have included such a statement in its letter for many

reasons that are consistent with the Court’s interpretation of the agreement. Most obviously, such

a statement would inform third parties that the government had not found one way or the other




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that the Participation Rule and Clear Cooperation Policy were lawful, and so similar policies

should not be assumed to pass muster. But more fundamentally, under the law of contract the

Antitrust Division was not free to unilaterally change the terms of the settlement agreement by

adding an ambiguous sentence to a letter designed to simply confirm that it had upheld its side of

the deal. See Keepseagle v. Vilsack, 99-cv-3119 (EGS), 2016 WL 9455764, at *6 n.5 (D.D.C. Apr.

20, 2016) (“‘To be effective a modification requires assent of all parties to the agreement’ because

‘there is no such thing as a unilateral modification.” (quoting Howard O. Hunter, Modern Law of

Contracts § 5.20 (2016 ed.)).

       Similarly, the Proposed Final Judgment signed by the parties fits with the Court’s interpre-

tation. The reservation-of-rights clause in the document states that nothing in that final judgment,

which mentioned neither the Participation Rule nor the Clear Cooperation Policy, would restrain

the Antitrust Division’s future investigations. See ECF No. 1-12 at 16. As the Court has already

explained, the settlement agreement was not contained exclusively within the four corners of the

Proposed Final Judgment. So even though that document said nothing about future investigations,

it does not then follow that no such limits were a part of the settlement agreement as a whole.

       None of this is to say that the Antitrust Division has agreed to never investigate NAR or

some future version or application of NAR’s Participation Rule and Clear Cooperation Policy.

The Court holds only that the government, in committing to close an investigation into these pol-

icies one year and then reopening it the next—when the only intervening change was that in pres-

idential administrations—violated the parties’ agreement. For that reason, the CID issued to fur-

ther that investigation must be set aside.3



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 Because the Court is setting aside the CID, it need not resolve NAR’s objections to its breadth
and burdensomeness.


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IV.    Conclusion

       At bottom, not setting aside the CID at issue would deprive NAR of the benefit for which

it bargained: the closure of the Antitrust Division’s investigation into its Participation Rule and

Clear Cooperation Policy. The government, like any party, must be held to the terms of its settle-

ment agreements, whether or not a new administration likes those agreements. For this reason, the

CID at issue must be set aside. A separate order will issue.



                                                               /s/ Timothy J. Kelly
                                                               TIMOTHY J. KELLY
                                                               United States District Judge
Date: January 25, 2023




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